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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

ANTONIO DENTRAY BATTLE,                     )
# 250833,                                   )
                                            )
      Petitioner,                           )
                                            )    CIVIL ACTION NO.
v.                                          )    2:21-CV-327-RAH-SRW
                                            )
CHRISTOPHER GORDY, et al.,                  )
                                            )
      Respondents.                          )

                                       ORDER

      On May 7, 2021, the Magistrate Judge filed a Recommendation to which no timely

objections have been filed. (Doc. 2.) Upon an independent review of the record and upon

consideration of the Recommendation, it is ORDERED that

      (1) The Recommendation (Doc. 2) is ADOPTED; and

      (2) This case is TRANSFERRED to the United States District Court for the

Northern District of Alabama pursuant to the provisions of 28 U.S.C. § 2241(d).

      DONE, on this the 1st day of June, 2021.


                                         /s/ R. Austin Huffaker, Jr.
                                  R. AUSTIN HUFFAKER, JR.
                                  UNITED STATES DISTRICT JUDGE
